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MINUTES OF THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

JUDGE: Hon. Tena Campbell COURT REPORTER: Ray Fenlon
COURTROOM DEPUTY: Theresa Brown
INTERPRETER:

CASE NO. OO-C-84, OO-C-Sti, OO-C-169
Bowman v. Teen Help; Alva v. Teen Help; Kimzey v. Spring Creel< Lodge
Approved By:

 

APPEARANCE OF COUNSEL

Pla Thomas Burton, Esq.
th Spencer Siebers, Esq.

DATE: 1/23/02
l\/[ATTER SET: Status

DOCKET ENTRY:

The court denies all motions for default because they are moot. All motions for leave to file are
granted The only motions pending are motions to strike and motions for sanctions The plaintiff
will have icn days to reply to motions to strike The court will make a ruling on the briefs All
cases will be Sel for IPT’s before the l\/Iagistrate Judge_

 

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